     Case 1:25-cv-10685-WGY    Document 206-1    Filed 07/14/25   Page 1 of 15

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1                       UNITED STATES DISTRICT COURT

2                         DISTRICT OF MASSACHUSETTS (Boston)

3                                               No. 1:25-cv-10685-WGY

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5     AMERICAN ASSOCIATION of UNIVERSITY PROFESSORS, et al,
                 Plaintiffs
6

7     vs.

8

9     MARCO RUBIO, in his official capacity as
      Secretary of State, et al,
10                Defendants

11
                                     *********
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13
                              For Bench Trial Before:
14                             Judge William G. Young

15
                                      EXCERPT
16

17                            United States District Court
                              District of Massachusetts (Boston.)
18                            One Courthouse Way
                              Boston, Massachusetts 02210
19                            Monday, July 14, 2025

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23                      Official Court Reporter
                      United States District Court
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25
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 2 of 15

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     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 3 of 15

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1              P R O C E E D I N G S

2              EXCERPT BEGINS

3              (Resumed, 10:55 a.m.)

4              THE COURT:     The Court takes this opportunity, on

5       the record, in the presence -- in open court, in the

6       presence of counsel, to accept gratefully the invitation

7       of the Court of Appeals to address the, um, mandamus

8       petition both generally and expressly to address the

9       issue of waiver with respect to that petition.

10             I'm going to start by, um, making a request to the

11      Court of Appeals.       I'm not going to argue in any way the

12      substance of the petition.         That's for the parties.             The

13      Court's conduct is all a matter of record.                And the

14      transcript governs and is more, um, important than

15      anything I say now.       But I'm going to start with the

16      request, simply as a matter of case management, that I

17      would make of the Court of Appeals.             And it is this.

18             I request the Court of Appeals to lift the stay,

19      though I express no opinion on the disposition of the

20      petition for mandamus, and it might well, um -- it's

21      entirely up to the Court of Appeals, it might well make

22      sense to let the petition survive so that it may have

23      the benefit of further proceedings in this court.

24             But I would ask the Court of Appeals to lift the

25      stay so that the evidentiary portion of this first phase
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 4 of 15

                                                                               4




1       of this jury-waived trial might complete.

2              We are in the, um, second week of a two-week --

3       9-day trial, and once that trial is over, or the

4       evidentiary portion is over, it's appropriate for this

5       Court to sketch what I anticipate will be the necessary

6       further proceedings.

7              This is a case -- and I know the Court of Appeals

8       appreciates this, but this is a case where intent and

9       motive play a significant role, and once the evidence is

10      fully before the Court, it's the Court's intention to

11      take the matter under advisement.            This is not a case

12      where even as to a portion of the case the Court expects

13      that, because of the evidence, to be in a position to

14      make any ruling from the bench, rather the Court expects

15      to take the case under advisement, seek, um, requested

16      findings and rulings from all parties, carefully review

17      the record, and then issue a full written opinion.

18             The actual likelihood of that opinion emerging

19      before September is unlikely.          So the urgency to fully

20      decide the, um, petition is, um, not grave.                 Given the

21      fact that what's done is done, the plaintiffs have

22      access to the material which the Court deemed

23      appropriate to subject to cross-examination during the

24      trial, and I adhere to that decision and expect to

25      adhere to it, subject to a proper, um, a claim of
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 5 of 15

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1       privilege during the course of the remaining

2       proceedings.     And I'll speak to that in a moment.

3              And one can anticipate, of course, that as this is

4       only the first phase of this case, if the case were to

5       resolve in favor of the defendant public officials, then

6       of course the plaintiffs would have the right to a

7       plenary appeal.       Contrary-wise, if the case were, at

8       least on what I'll call the "liability phase," resolved

9       against one or more, and I treat them separately, of the

10      defendant public officials, um, that would afford an

11      opinion -- that would afford a place for an

12      interlocutory appeal, should the Court of Appeals wish

13      to evaluate the propriety of that decision while this

14      Court wrestled with the very real problem, even if

15      that's how it were to play out, of redressability,

16      something this Court has not addressed in the -- its

17      hearings thus far.       So that's the Court's approach to

18      the management of this case.

19             Let me then, without arguing the point, um,

20      explain the Court's position with respect to matters to

21      be considered on the petition for mandamus.                 And I think

22      it's important to understand that the Court, and I

23      believe the parties, place the documents in question,

24      because at bottom, this is an issue over evidentiary

25      rulings mid trial as to certain documents produced.
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 6 of 15

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1              I separate the documents into three buckets.                    What

2       I've called the "core documents," these documents are

3       documents that evidence the transmission of materials

4       about certain target subjects, which I've required the

5       plaintiffs to designate, which they are arguing are

6       exemplars of their so-called "ideological deportation

7       policy."    The Court of Appeals will understand that the

8       defense asserts there is no such policy and that the

9       proceedings of the government agencies were lawful in

10      every relevant part.

11             So the core documents are the "ROAs," so-called,

12      and transmittal letters, um, e-mails commenting thereon,

13      that were transmitted from the Department of Homeland

14      Security to the Department of State, specifically to the

15      Bureau of Consular Affairs, and certain of those, the

16      transmittal letters that so transmitted them, and, um,

17      thereafter the "decision memos," so-called by this

18      Court, that the Director of the Bureau of Consular

19      Affairs transmitted most, but not all, of the packet to

20      the Secretary of State for decision, as required under

21      the law.

22             The actual interplay is -- and the standard

23      procedure is best illustrated in a chalk that the Court

24      has marked HN, and will attach to the cover letter sent

25      to the Court of Appeals, which, um, so far as this Court
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 7 of 15

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1       can see, accurately describes the standing procedure of

2       both executive departments in handling matters.                  It of

3       course does not answer the key question which concerns

4       the content of the materials so transmitted.                 So those

5       core materials are the materials that I understand the

6       petition to center upon, and I'll come back to them.

7              There are two other packets of materials that I

8       transmitted in bulk to the Court all together, but I've

9       broken them out for this discussion.              As to one

10      document, which I'll call Exhibit A, the government has

11      properly, and the Court recognizes the proper --

12      "proper" in the sense that I recognize that it's been

13      properly asserted and not waived, the government has

14      asserted an Executive Privilege.            That's a, in this

15      Court's eyes, a difficult issue and one the Court has

16      not resolved and which the Court understands it is free

17      to resolve as the case goes on.           So it's appropriate to

18      indicate to the Court of Appeals what I've told the

19      parties about how it will be resolved.

20             It seems to this Court that there are three

21      possible resolutions.        First, that the Court resolves

22      that the specific document in question is subject to an

23      Executive Privilege.       If it is, whenever the Court makes

24      that determination, it physically forthwith will return

25      the document to defense counsel and make a notation on
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 8 of 15

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1       the record.

2              The second possibility is that, without deciding

3       whether the document is, um, subject to an Executive

4       Privilege, the Court, as it comes to analyze the case --

5       I've read the document and I largely understand it, um,

6       it makes no difference to the decision and the Court

7       needs not cite it.       If that is, um, decided, the Court

8       will immediately return it to the defense counsel and

9       again make a notation on the record.

10             The third possibility is that the Court, um,

11      rejects, overrules the assertion of an Executive

12      Privilege and also decides that the document, which the

13      Court has thus far characterized as "peripherally

14      relevant," is in fact relevant to some conclusion the

15      Court determines to make.         In that case, if the -- if

16      this present petition were, um, still pending, a dispute

17      over this document might be beholden to that petition.

18      And I've told counsel, if I make that decision, I will

19      stay it for 7 days so that they may take action with

20      respect to that document.

21             The third packet of documents are documents as to

22      which I have now allowed privileges to be asserted, and

23      they have been, but which will not figure in the, um,

24      oral testimony as no further documents are going to be

25      produced to the plaintiff -- the plaintiffs by the
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 9 of 15

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1       Court, but which all parties agree the Court may look

2       at, determine privileges, as it goes forward, and I

3       shall do so.

4              Again, if I decide to rely upon and cite a

5       document, implicitly or explicitly, it will be clear

6       that I have overruled the privilege.              If I don't cite

7       the document, it, um -- no ruling is necessary and those

8       documents no longer figure in the case.

9              The written -- were a decision on the petition of

10      mandamus -- for mandamus to await either appeal or allow

11      an interlocutory appeal, again that could all be

12      reviewed in the ordinary course, and evidentiary error

13      will be reviewed, and of course it is, as to whether it

14      makes a substantial difference in the outcome.                  And I

15      would have the liberty of, on a full record, to make the

16      findings and rulings that, um, I believe either have or

17      have not been proved by a fair preponderance of the

18      evidence.

19             So let me conclude simply by focusing on the core

20      documents and reiterate -- which do seem central to the

21      issues raised by the petition for mandamus, and, um,

22      respond directly to the Court's use of the word

23      "waiver," which the invitation expressly sought the

24      Court's further explanation.

25             The use of the word "waiver," upon reflection, was
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 10 of 15

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1       infelicitous, so, um, it caused no prejudice to anyone,

2       because the Court followed it up with an explanation.

3       Here is the Court's view of what has happened.

4               The -- during a discussion on the plaintiffs'

5       motion to compel certain documents for, um, which the

6       plaintiffs claim were part of the record of decision of

7       its so-called "ideological deportation policy," the

8       Court declined to, um -- the Court denied the

9       plaintiffs' motion.        But did say -- and again the

10      transcript of what I actually said at the time governs,

11      but I'll characterize it, said, "But I would receive

12      documents as to which the law-enforcement privilege was

13      asserted and I would honor it."

14              Now again the transcript governs.               What happened

15      happened, was that ultimately over 300 documents were

16      submitted to the Court where the defense asserted not

17      only the law-enforcement privilege, but various

18      privileges, and, um, took, with respect to -- when you

19      look at these documents, a very aggressive, um,

20      position.     The Court's -- the Court's review of the

21      documents became more, um, thorough as trial approached

22      and as the acting trial became to the front burner and

23      trial commenced, and the Court, as to these core

24      documents, um, came to the conclusion that the

25      law-enforcement privilege was inapplicable and was
     Case 1:25-cv-10685-WGY   Document 206-1     Filed 07/14/25   Page 11 of 15

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1       asserted extraordinarily overbroadly.                 The Court

2       therefore was in a quandary.

3               Should, having overruled the -- that privilege,

4       should the documents be disclosed to the defense?                         And

5       the Court determined, to have the fairest possible

6       trial, that such disclosure was in the interests of

7       justice, and I did disclose it.              Disclose them.

8               Various minor issues with respect to the -- I

9       shouldn't call them "minor," but with respect to

10      those -- to that disclosure have been worked out, I

11      believe, to the satisfaction of the parties.                    The

12      documents in their raw form I anticipated and expected

13      redaction of e-mails and telephone numbers.                   The defense

14      wants more.     The, um -- there was indeed one reference

15      to something that, in all fairness, in fact bore on the

16      law-enforcement privilege, despite the Court's ruling.

17      That was corrected by full cooperation between all

18      parties, and the proper redaction made.

19              I say the use of the word "waiver" was

20      infelicitous because the Court did ask the defense to

21      submit the documents with respect to which it claimed a

22      law-enforcement privilege.             The government now says that

23      they were -- they don't say this expressly, but their

24      position is they were snookered, and I got the documents

25      just to disclose them.         Well that's not so.            I certainly
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 12 of 15

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1       never conceived that anything I said could be thought to

2       estop the Court from making proper rulings with respect

3       to the documents.       And again, the transcript will

4       govern.    But it's the Court's position that proper

5       rulings have been made.

6                One last point which, um, I state again simply to

7       be of assistance to the Court of Appeals.                Today the

8       parties and the Court have had a very productive

9       discussion, the full transcript is of course available

10      to the Court of Appeals, and I recite only

11      determinations that I believe I am still authorized to

12      make with respect to these core documents.                 And I have

13      made the following.

14               Actually I've made the following with respect to

15      the assertion of the attorney-client privilege.                   Having

16      reviewed the documents and the arguments, I do rule that

17      the attorney-client privilege has been waived.                  It

18      simply is inapplicable in a situation where counsel has

19      provided documents to the factfinder, um, on the theory

20      that these documents are relative -- are relevant to the

21      decision, as certainly the core documents are.                  That

22      constitutes a waiver of the attorney-client privilege,

23      and the Court, less there be any doubt about it, so

24      rules.

25               In one respect the Court sustains the, um, claim
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 13 of 15

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1       of deliberative process privilege and I have sustained

2       it as to, um, certain provision of legal advice by

3       attorneys in certain e-mails that form a portion of the

4       core documents.       Beyond that sustaining, after

5       discussion with counsel, I make no further rulings as to

6       the deliberative process privilege, or any other

7       privilege, as to the core documents.              And, um, I won't

8       say it's by agreement, but we've worked out that if

9       permitted to continue the trial, I will make what the

10      Court considers appropriate rulings on a

11      question-by-question basis.

12              Essentially the issues relate to the Director of

13      the Bureau of Consular Affairs, Mr. Armstrong, whose

14      testimony had just commenced cross-examination when the

15      stay, um, was transmitted, and a Mr. Watson, who wrote,

16      um, the transmittal letters from the Department of

17      Homeland Security to the State Department.

18              One other thing is significant and I will state

19      it.   I understand that whatever ruling the Court makes

20      as to cross-examination in the course of the trial, the

21      Court is empowered, without objection by the government,

22      to review all the records in its possession, make proper

23      privilege rulings, and rely upon those which it rules

24      the privilege or qualified privilege does not apply.

25              With those explanations, which I truly hope are
     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 14 of 15

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1       helpful, the Court will respectfully submit this

2       transcript, just as soon as I get my hands on it, to the

3       Court of Appeals, respectfully and with appreciation for

4       being given the opportunity to comment on these

5       proceedings.

6               EXCERPT ENDS

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     Case 1:25-cv-10685-WGY   Document 206-1   Filed 07/14/25   Page 15 of 15

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1                             C E R T I F I C A T E

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4               I, RICHARD H. ROMANOW, OFFICIAL COURT REPORTER, do

5       hereby certify that the forgoing transcript of the

6       record is a true and accurate transcription of my

7       stenographic notes, before Judge William G. Young, on

8       Monday, July 14, 2025, to the best of my skill and

9       ability.

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       /s/ Richard H. Romanow 07-14-25
14     ________________________
       RICHARD H. ROMANOW Date
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